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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
      vs.                                       )    Case No. 4:08CR0566 CDP/TCM
                                                )
AARON WILLIAMS,                                 )
                                                )
                      Defendant.                )

                      REPORT AND RECOMMENDATION
                   OF UNITED STATES MAGISTRATE JUDGE

      In accordance with the Memorandum filed herein,

      IT IS HEREBY RECOMMENDED that Defendant's Motion for Early Jenks

Disclosure [Doc. 70] be DENIED as moot.

      IT IS FURTHER RECOMMENDED that Defendant's Motion for Severance from

Other Defendants [Doc.72] be DENIED without prejudice to its reassertion at trial.

      IT IS FURTHER RECOMMENDED that Defendant's Motion to Suppress

Statements [Doc.74] be DENIED as moot.

      IT IS FINALLY RECOMMENDED that Defendant's Motion to Suppress Evidence

[Doc.74] and Defendant's Motion for Bill of Particulars or in the Alternative Motion to

Dismiss [Doc.75] both be DENIED.1

      The parties are advised that they have eleven (11) days in which to file written


      1
       As noted in the incorporated Memorandum, the undersigned declines to rule on
Defendant's Motion to Bar or Limit Use of Co-Conspirators [Doc. 71] as that motion is more
appropriately heard by the trial judge.
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objections to this Recommendation and the Memorandum incorporated herein pursuant to

28 U.S.C. § 636(b)(1), unless an extension of time for good cause is obtained, and that

failure to file timely objections may result in waiver of the right to appeal questions of fact.

See Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994).



                                            /s/ Thomas C. Mummert, III
                                            THOMAS C. MUMMERT, III
                                            UNITED STATES MAGISTRATE JUDGE

Dated this 30th day of January 2009.




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